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~J5-44 (Rev 12/07)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)    PLAINTIFFS                                                                                    DEFENDANTS
          Amco Insurance Company
                                                                                                        Brian Yohe and Jill Yohe
  (b~     County of Residence of First Listed
          Plaintiff                                             Des Moines, IA                          County of Residence of First Listed Ikfendant                    York County
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                      NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                           LAND INVOLVED.


(c>       Attorneys (Firm Name, Address, and Telephone Number)                                           Attorneys (If Known)

          James Cole, Marshall, Dennehey, Warmer, Coleman & Goggin,
          10 N. Main St., 2"d Fl., Doylestown, PA 18901; 267-880-2026
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place An "X" in One Box for Plaintiff and
                                                                                                     (For Diversity Cases Only)                                        One Box for Defendant)
❑ 1. U.S. Government                 ❑ 3. Federal Question
        Plaintiff                          (LT.S. Government Not a Party)
                                                                                                 Citizen of This State            ❑1      ~1       Incorporated or Principal Place              ❑4         ❑4
❑ 2. U.S. Government                                                                                                                               oFBusiness in This State
                                      ~ 4. Diversity
        Defendant
                                          (Indicates Citizenship of Parties in Item III)         Citizen of Mother                ❑2      ❑2       Incorporated and Principal Place             ~5         ❑5
                                                                                                 State                                             of Business in Another State

                                                                                                                                  ❑3      ❑3                                                    p6         ❑6
                                                                                                 Citizen of Subject of a                          I nre-r~r3~ I~aiian
                                                                                                 Foreign Country



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~ 110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY                  ❑ 610 Agriculhtre                 O 422 Appeal 28 USC 158                ❑ 400 State Reapportionment
❑ 120 Marine                          ❑ 310 Airplane                   ❑ 362 Personal Injury —           ❑ 620 Other Food &Drug            ❑ 423 Withdrawal                       ❑ 410 Antitrust
❑ 130 Miller Act                      O 315 Airplane Product                  Med Malpractice            ❑ 625 Drug Related Seizure               28 USC 157                      ❑ 430 Banks and Banking
❑ 140 Negotiable Instrument                  Liability                 ❑ 365 Personal Injury —                of Property 21 USC                                                  ❑ 450 Commerce
❑ 150 Recovery of                     ❑ 320 Assault, Libel &                  Product Liability          881                                                                      ❑ 460 Deportation
Overpayment                                  Slander                   ❑ 368 Asbestos Personal           ❑ 630 Liquor Laws                 />>~~)pIrR7'3' It1C>'H7:S              ❑ 470 Racketeer Influenced ao
     & Enforcement of                 ❑ 330 Federal                           Injury Product             ❑ 640 R.R &Truck                                                                Corrupt Organizations
Judgment                              Employers' Liability                                                                                 ~ ~Z~ Copyrights                       p 480 Consumer Credit
                                                                              Liability                  ❑ 650 Airline Regs                ❑ 830 Patent
❑ 151 Medicare Act                    ❑ 340 Marine                     PERSONAL PROPERTY                 ❑ 660 Occupational                ❑ 840 Trademark                        ❑ 490 Cable/Sat TV
❑ 152 Recovery of Defaulted           ❑ 345 Marine Product             ❑ 370 Other Fraud                       Safety/Health                                                      p 810 Selective Service
        Student Loans                        Liability                 ❑ 371 Truth in Lending            ❑ 690 Other                                                              ❑ 850 Securities/Commodities/
        (Excl. Veterans)              ❑ 350 Motor Vehicle              ❑ 380 Other Personal                                                                                              Exchange
❑ 153 Recovery of                     ❑ 355 Motor Vehicle                     Property Damage            ~,,~j;~~R                        ,S'U(,7,4L SLC(:YU"I'I'                 ❑ 875 Customer Challenge
       Overpayment of                        Product Liability         ❑ 385 Property Damage             p 710 Fair Labor Standazds                                                       12 USC 3410
                                                                                                                                          ❑ 861 HIA (1395f~
       Veteran's Benefits.            ❑ 360 Other Personal                    Product Liability                                                                                   ❑ 890 Other Statutory Actions
                                                                                                                   Act                    ❑ 862 Black Lung (923)
❑ 160 Stockholder's Suits                    Injury                                                                                                                               ❑ 891 Agricultural Acts
                                                                                                         ❑ 720 Labor/Mgmt.                p 863 DIWGDIWW (405(g))
p 190 Other Contract                                                                                                                                                              ❑ $92 Economic Stabilizarion A 3i
                                                                                                         Relations                        ❑ 864 SSID Title XVI
❑ 195 Contract Product Liability                                                                                                                                                  ❑ 893 Environmental Matters
                                                                                                         ❑ 730 I.abor/Mgmt. Reporting      O R65 RSI (405 1)
O l95 Franchise                                                                                                    & Disclosure Act                                               ❑ 894 Energy Allocation Act
                                                                                                         ❑740 Railway Labor Act                                                   D895FreedomofInformation
                                                                                                                                          r1~j».;TtA7:lA.l'Si01,5                         Act
                                          CIVIL RIGH"TS                PRISOI~~K PN,TITIONfi             ❑ 790 Other Labor Litigation     ❑ 870 Taxes (U.S.                       p 900 Appeal of FeeDetertninatio i
                                                                                                         ❑ .791 ~mpl. Ret. Inc.           Plaintiff or Defendant)
      f:i Al, P~tUPIi~R'1'S'                                                                                                                                                             Under Equal Access
                                                                                                                   Security Act           p 87~ ~gS —Third PartY
❑ 210 Land Condemnation               ❑ 441 Voting                     ❑ 510 Motions to Vacate                                                                                            to Justice
❑ 220 Foreclosure                     ❑ 442 Employment                        Sentence                                                             26 USC 7609                    ❑ 950 Constitutionality of
❑ 230 Rent, Lease &Ejectment          ❑ 443 Housing /                    Habeas Corpus:                                                                                                   State Statutes
❑ 240 Torts to Land                         Accommodations             ❑ 530 General                     7 ~ M ~ G~' ~~r~l~~
❑ 245 Tort Product Liability          ❑ 444 Welfare                    ❑ 535 Deatli Penalty              ❑ 426 Naturalization
❑ 290 All Other Real Property         ❑ 445 Amer.. w/Bisabilities      ❑ 540 Mandamus &Other             Application
                                      -     Employment                 ❑ 550 Civil Rights                ❑ 463 Habeas Corpus —
                                      p 446 Amer. w/Disabili6es        ❑ 555 Prison Condition            Alien Detainee
                                      -     Other                                                        ❑ 465 Other Immigration
                                      ❑ 440 Other Civil Rights                                           Actions



V. ORIGIN       (Place an "X" in One Box Only)                                                                                                                                                             to Disfict
~ 1 Original      ❑ 2 Removed from            ❑3                    Remanded from          ❑4       Reinstated or          ❑5
                                                                                                                   Transferred from    ❑6        Multidistrict                           ❑7               ;e from
     Proceeding            State Court                              Appellate Court                 Reopened       another district              Litigation
                                                                                                                    s eci
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        28 U.S.C. $1332
VI. CAUSE OF ACTION
                                        Brief description of cause:
                                        Corn taint for Declato Jud ment
VII. REQUESTED IN                   ~      CHECK IF THIS IS A CLASS                                                                            CHECK YES only if demanded in complaint:
      COMPLAINT:                           ACTION iJNDER F.R.C.P. 23
                                                                                                C)F.,,~.I~:'~%T.) $     I?eclararc~~-~~
                                                                                                                         ,__,_ ___ __,                                      ❑ No
                                                                                                                                               NRY DEMAND: ~ Yes
VIII. RELATED CASES)
                       Case 1:15-cv-00053-CCC Document 1 Filed 01/08/15 Page 2 of 8
                         jSee instructions)   JUDGE               DOCKET NUMBER
DATE                                                  TUBE

                        ~~
              Case 1:15-cv-00053-CCC Document 1 Filed 01/08/15 Page 3 of 8




MARSHALL, DENNEHEY, WARNER, COLEMAN & GOGGIN
By: James H. Cole, Esquire
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                    THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF PENNSYLVANIA

AMCO INSURANCE COMPANY
1100 Locust Street
Des Moines, IA 50391-1100
             v.
BRIAN YORE AND JILL YOHE
705 Broadway
Hanover, PA 17331-2014

                        DECLARATORY JUDGMENT COMPLAINT

                                            The Parties

         1.     Plaintiff, Amco Insurance Company, is a corporation licensed to do business in

Pennsylvania with a principal place of business located at 1100 Locust Street, Des Moines, IA

50391.

         2.     Brian Yohe and Jill Yohe are Pennsylvania residents residing at 705 Broadway,

Hanover, PA 17331.

                                         Jurisdiction And Venue

         3.     This Honorable Court has diversity and jurisdiction pursuant to 28 U.S.C. §1332,

as the parties are citizens of different states and the amount in controversy exclusive of interest

and cost exceeds the sum of $75,000.00.
                Case 1:15-cv-00053-CCC Document 1 Filed 01/08/15 Page 4 of 8




          4.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(a), as the

subject property is located within the judicial district and the policies of insurance giving rise to

the litigation were issued to the insureds insuring property located within this judicial district.

                                              Factual Background

          5.       Amco Insurance Company originally issued a homeowners' policy of insurance to

Brian Yohe and Jill Yohe on February 7, 2014, with total potential limits for structural contents

of $300,390.00.

          6.      Prior to the issuance of the policy, in the summer of 2013, in anticipation of

remodeling the kitchen, Ms. Yohe wrote and drew pictures on the kitchen walls and fixtures.

          7.       As of the date of the fire, no renovation or repair work had been completed to the

kitchen, and the "graffiti" remained throughout the kitchen.

          8.       The home is deeded to Brian Yohe and his ex-wife, Kathleen Smith.

          9.       While Brian Yohe and Jill Yohe wish to refinance the property to remove

Kathleen Smith's name from the mortgage and Deed, they are unable to do so because of credit

issues.

          10.      On May 9, 2014, Brian Yohe left the subject property for work at approximately

5:30 a.m.

          11.      On May 9, 2014, Jill Yohe left the subject property for work at approximately

iA1Z1 . ~i

          12.     Despite not having to be in work unti17:00 a.m., Ms. Yohe arrived at work on the

subject date at 6:15 a.m.

          13.      When Jill Yohe left for work, the doors to the home were locked and secured.

          14.     On May 9, 2014, at 6:00 a.m., all of the keys to the home were accounted for.
                 Case 1:15-cv-00053-CCC Document 1 Filed 01/08/15 Page 5 of 8




           15.      At 6:55 a.m., smoke was reported from the home by a passerby, who alerted

authorities.

           16.      Upon the fire department's arrival, the house was locked and the fire department

had to force entry to gain access to the home.

           17.      Multiple fires were extinguished, and found to have been incendiary in origin.

           18.     Four points of origin were discovered inside the home as follows:

                    a.     the southeast corner of the living room where a bench was completely
                           consumed;

                    b.     the basement ceiling joist were a Pittsburgh Steelers' blanket that was
                           usually stored on the living room bench, was stuffed into the basement
                           ceiling joist and set on fire;

                           a mattress in the southeast corner of the basement was set on fire; and

                    d.     a wooden crate in the basement with a blanket draped on top of it was set
                           on fire.

           19.      All four points of origin were separate and non-communicating.

           20.     It is asserted upon information and belief that arson detecting dogs detected

flammable liquids in two of the four points of origin.

           21.     Four separate fires were intentionally set in the home.

           22.     Jill Yohe was admittedly in the house less than one hour before the fires were

discovered.

           23.     There were no signs of forcible entry to the house prior to the fire department's

arrival.

                                        COUNTI
                              DECLARATORY JUDGMENT ACTION

           24.     Plaintiff incorporates by references paragraphs one through twenty-three(1.-23.)

as though fully set forth herein at length.
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      25.      The subject policy contains the following policy language:

                         SECTIONI—PERILS INSURED AGAINST

      A.       COVERAGE A —Dwelling And COVERAGE B —
               Other Structures

               1.      We insure against risk of direct physical
                       loss to property described in Coverages A
                       and B.

                                                ~~~

                                      SECTIONI—EXCLUSIONS

               8.     Intentional Loss

                      Intentional loss means any loss arising out
                      of any act an "insured" commits, or
                      conspires to commit with the intent to
                      cause a loss.

                      In the event of such loss, no "insured" is
                      entitled to coverage, even "insureds" who
                      did not commit or conspire to commit the act
                      causing the loss.

                                                ~~~

                                  SECTIONI—CONDITIONS

      Q.       Concealment Or Fraud

               We provide coverage to no "insureds" under
               this policy if, whether before or after a loss, an
               "insured" has:

               1.     Intentionally concealed or misrepresented
                      any material fact or circumstance;

               2.     Engaged in fraudulent conduct; or

              3.      Made false statements;

              relating to this insurance.

See certifiedpolicy attached hereto as Exhibit "A.'J
             Case 1:15-cv-00053-CCC Document 1 Filed 01/08/15 Page 7 of 8




       26.      Plaintiff owes no duty to indemnify as the intentional fire does not constitute an

accidental direct physical loss.

       27.      Additionally, the subject claim is excluded as at least one of the named insureds

intentionally caused the subject fires.

       28.      Defendants breached the policy conditions by intentionally concealing and

misrepresenting material facts and circumstances, engaged in fraudulent conduct and made false

statements relating to this insurance.

       29.      Plaintiff has been prejudiced by the Defendants' breach of the policy conditions.

       30.      Due to the breach of the policy conditions and the applicable exclusions pursuant

to said policy, Plaintiff respectfully requests this Honorable Court declare the subject policy void

and declare that no coverage exists under said policy for the subject loss.

       WHEREFORE, Plaintiff, Amco Insurance Company, respectfully requests this

Honorable Court declare the subject policy void and that no coverage exists due to Defendants'

breach of the policy conditions and the applicable exclusions pursuant to said policy.



                                                      MARSHALL, DENNEHEY, WARNER,
                                                      COLEMAN & GOGGIN

                                                          r
                                           ~, BY~     _       {
                                                          es H. Cole, Esquire
                                                      Attorney I.D. #84039
                                                      10 N. Main Street, 2"a Floor
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           Case 1:15-cv-00053-CCC Document 1 Filed 01/08/15 Page 8 of 8




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                   THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF PENNSYLVANIA

AMCO INSURANCE COMPANY
1100 Locust Street
Des Moines, IA 50391-1100
             v.
BRIAN YORE AND JILL YORE
705 Broadway
Hanover, PA 17331-2014


                                CERTIFICATE OF SERVICE

        I, James H. Cole, Esquire, hereby certify that a true and correct copy of the Declaratory
Judgment Complaint was served on the below listed date, by first class mail, postage prepaid, to
the following addresses:

Charles T. Young, Esquire
Griffith, Strickler, Lerman, Solymos &Calkins
110 S. Northern Way
York, PA 17402-3737
                                                    MARSHALL, DENNEHEY, WARNER,
                                                    COLEMAN & GOGGIN


                                             By: ~~
                                                    James      ole, Esquire
                                                    Attorney I.D. #84039
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                                                    Doylestown, PA 18901
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Date: Ol/08/2015
